Case 3:25-cv-00035-JO-VET     Document 1      Filed 01/07/25   PageID.1   Page 1 of 41



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14 and the Proposed Class
15
16                       UNITED STATES DISTRICT COURT
17                     SOUTHERN DISTRICT OF CALIFORNIA
18
19    VALERIE PERKINS, individually             Case No. '25CV0035 JO VET
      and on behalf of all others similarly
20    situated,                                 CLASS ACTION COMPLAINT
21                       Plaintiff,             JURY TRIAL DEMANDED
22          v.
23    THE PROCTER & GAMBLE
      COMPANY,
24
                         Defendant.
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26
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28

                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET    Document 1     Filed 01/07/25   PageID.2   Page 2 of 41



 1         Plaintiff Valerie Perkins (“Plaintiff” or “Perkins”) brings this class action
 2 complaint against Defendant The Procter & Gamble Company (“Defendant” or
 3 “P&G”), and alleges upon personal knowledge as to her acts and experiences, and,
 4 as to all other matters, upon information and belief, including investigation by her
 5 attorneys, as follows.
 6                                  INTRODUCTION
 7         1.   P&G manufactures, markets, advertises, and sells a line of “ZzzQuil
 8 PURE Zzzs” melatonin products with the tagline “HELPS YOU FALL ASLEEP
 9 NATURALLY” (the “Product” or “Products”). Each Product label highlights this
10 tagline on the front of the label in all caps and bolded green lettering. An image of
11 an example Product label is below.
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28 Exemplars of the Products’ front and back labeling are attached hereto as Exhibit 1.
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1     Filed 01/07/25   PageID.3    Page 3 of 41



 1         2.    P&G uses the “naturally” branding strategy and labeling claim as the
 2 primary feature differentiating the Products from other sleep-aid products in the
 3 marketplace. However, P&G’s “naturally” advertising and marketing is false,
 4 deceptive, and misleading because the Products contain several artificial and
 5 synthetic ingredients, including the primary ingredient in the Products, Melatonin.
 6 The Melatonin in the Products is a highly synthesized chemical which does not exist
 7 in nature and is not made by nature. It is made in a lab and requires the use of toxic
 8 solvents and chemical catalysts. These ingredients are not “natural” and, thus,
 9 cannot “naturally” help a consumer sleep.
10         3.    Perkins relied on P&G’s representation that the Products’ ingredients,
11 including the Products’ primary ingredients such as Melatonin, work “naturally”
12 and are not synthetic or artificial, and that representation was material to the
13 decisions of Perkins and the other members of the Class (defined below) to purchase
14 the Products. The “naturally” branding strategy and labeling representation is key
15 to the marketing and sale of the Products, which is why P&G places the “naturally”
16 advertising claim in bold, capitalized font on the front and center of the label.
17         4.    P&G chose green, a color known to refer to nature, as the color of the
18 font for the “naturally” representation. The label also includes images to enhance
19 the “naturalness” of the Products including chamomile and lavender. The net-effect
20 or net-impression of the Products’ labeling on consumers is that the Products do not
21 contain ingredients that are synthetic, artificial, and subject to significant chemical
22 modification and processing. Reasonable consumers are deceived into thinking the
23 primary ingredient of the Products (Melatonin) is not synthetically made.
24         5.    A reasonable consumer would expect that a Product branded and
25 labeled as “naturally” being capable of inducing sleep would not contain synthetic,
26 artificial ingredients and ingredients subject to chemical modification and
27 processing. Reasonable consumers certainly would not expect the primary
28 ingredient printed on the front of the label to be a non-natural, highly processed
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET      Document 1     Filed 01/07/25    PageID.4   Page 4 of 41



 1 chemical. A synthetic chemical does not and cannot “naturally” help you fall asleep.
 2 Accordingly, P&G’s “naturally” representation is false, misleading, and likely to
 3 deceive reasonable consumers. P&G’s advertising and marketing campaign is
 4 designed to cause consumers to purchase the Products as a result of this deceptive
 5 message.
 6         6.   Listed below are many of the Products, 1 including the primary and
 7 “other ingredients” listed on the label:
 8              a.     Melatonin + Chamomile & Lavender Tablets (60 count)
 9                     (Exhibit 1 at 1):
10                     Primary Ingredients: Melatonin and PURE Zzzs Blend
11                     [Chamomile (Matricaria recutita L.) flower extract, lemon balm
12                     (Melissa officinalis L.) leaf extract, valerian (Valeriana
13                     officinalis L.) root extract, lavender (Lavandula officinalis
14                     Chaix) flower extract].
15                     Other Ingredients: Microcrystalline cellulose, croscarmellose
16                     sodium, calcium phosphate, maltodextrin, corn starch; Less than
17                     2% of: Magnesium stearate, silicon dioxide, polyvinyl alcohol,
18                     polyethylene glycol, titanium dioxide, talc, Red 40 Lake, Blue 2
19                     Lake.
20              b.     Melatonin + Chamomile & Lavender Gummies (24, 30, 48,
21                     72, and 110 count) (Exhibit 1 at 2-4):
22                     Primary Ingredients: Melatonin and PURE Zzzs Blend
23                     [Chamomile (Matricaria recutita L.) flower extract, lemon balm
24                     (Melissa officinalis L.) leaf extract, valerian (Valeriana
25                     officinalis L.) root extract, lavender (Lavandula officinalis
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27
    P&G may have sold other Products during the statute of limitations period of
     1
28 which Plaintiff is unaware, including other Product sizes/counts.
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET   Document 1    Filed 01/07/25   PageID.5   Page 5 of 41



 1                   Chaix) flower extract].
 2                   Other Ingredients: Corn syrup, water, sugar; Less than 2% of:
 3                   hydrogenated coconut oil, pectin, maltodextrin, citric acid,
 4                   sodium potassium tartrate, soy lecithin, natural flavor, sodium
 5                   citrate, malic acid, sodium polyphosphate, Red 40, Blue 1.
 6              c.   Enhanced Formula Melatonin (100 count) (Exhibit 1 at 5):
 7                   Primary Ingredients: Melatonin and PURE Zzzs Blend
 8                   [Chamomile (Matricaria recutita L.) flower extract, lemon balm
 9                   (Melissa officinalis L.) leaf extract, valerian (Valeriana
10                   officinalis L.) root extract, lavender (Lavandula officinalis
11                   Chaix) flower extract].
12                   Other Ingredients: Corn syrup, water, sugar; Less than 2% of:
13                   hydrogenated coconut oil, pectin, natural flavors, maltodextrin,
14                   sodium potassium tartrate, citric acid, soy lecithin, sodium
15                   citrate, malic acid, sodium polyphosphate, Red 40, Blue 1.
16              d.   Sleep + Muscle Relaxation Gummies (26 and 42 count)
17                   (Exhibit 1 at 6):
18                   Primary    Ingredients:   Melatonin   and   Proprietary   Blend
19                   [Chamomile (Matricaria recutita L.) flower extract, lavender
20                   (Lavandula officinalis Chaix) flower extract].
21                   Other Ingredients: Corn syrup, sucrose, water; Less than 2% of:
22                   agar, natural flavors, fumaric acid, tapioca starch, citric acid,
23                   vegetable juice (color), locust bean gum.
24              e.   Sleep + Next Day Energy Tablets (21 count, 28 count, and two
25                   28 count) (Exhibit 1 at 7):
26                   Primary Ingredients: Melatonin and PURE Zzzs Blend
27                   [Chamomile (Matricaria recutita L.) flower extract, lavender
28                   (Lavandula officinalis Chaix) flower extract].
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                            CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1      Filed 01/07/25     PageID.6    Page 6 of 41



 1                    Other    Ingredients:     Calcium        carbonate,   microcrystalline
 2                    cellulose, maltodextrin, hydroxypropyl methylcellulose; Less
 3                    than 2% of: stearic acid, magnesium stearate, croscarmellose
 4                    sodium, silicon dioxide, turmeric (color), hydroxypropyl
 5                    cellulose, vegetable juice (color).
 6              f.    Back to Sleep Tablets (Exhibit 1 at 8):
 7                    Primary Ingredients: Melatonin.
 8                    Other Ingredients: D-Mannitol, microcrystalline cellulose,
 9                    povidone, xylitol., dicalcium phosphate; Less than 2% of: silicon
10                    dioxide, magnesium stearate, acesulfame potassium, natural
11                    flavor, citric acid (flavor enhancer).
12              g.    Kidz Melatonin + Chamomile & Lavender Gummies (Exhibit
13                    1 at 9-10)
14                    Primary Ingredients: Melatonin and PURE Zzzs Kidz Blend
15                    [Chamomile (Matricaria recutita L.) flower extract, lavender
16                    (Lavandula officinalis Chaix) flower extract].
17                    Other Ingredients: Corn syrup, water, sugar; Less than 2% of:
18                    hydrogenated coconut oil, pectin, natural flavors, maltodextrin,
19                    sodium potassium tartrate, citric acid, soy lecithin, sodium
20                    citrate, malic acid, sodium polyphosphate, Red 40, Blue 1.
21        7.    The following ingredients in the Products are synthetic and, thus, do
22 not and cannot “naturally” help one fall asleep: Melatonin, Acesulfame Potassium,
23 Blue 1, Blue 2 Lake, Calcium Phosphate, Calcium Carbonate, Citric Acid,
24 Croscarmellose Sodium, D-Mannitol, Fumaric Acid, Hydroxypropyl Cellulose,
25 Hydroxypropyl Methylcellulose, Malic Acid, Maltodextrin, Magnesium Stearate,
26 Polyethylene Glycol, Polyvinyl Alcohol, Red 40, Red 40 Lake, Silicon Dioxide,
27 Sodium Citrate, Sodium Polyphosphate, Sodium Potassium Tartrate, Stearic acid,
28 and Titanium Dioxide. See infra ¶¶ 29-53 (detailing why each is synthetic and non-
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                             CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1     Filed 01/07/25   PageID.7     Page 7 of 41



 1 natural).
 2         8.    Plaintiff brings this action individually and on behalf of other similarly
 3 situated consumers in California to halt the dissemination of P&G’s false and
 4 misleading advertising message, correct the false and misleading perception it has
 5 created in the minds of consumers, and obtain redress for those who have purchased
 6 the Products. As a consequence of P&G’s deceptive labeling of the Products,
 7 Perkins alleges P&G has violated and is violating California’s Consumers Legal
 8 Remedies Act, CAL. CIV. CODE § 1750 et seq. (the “CLRA”), and California’s
 9 Unfair Competition Law, CAL. BUS. & PROF. CODE § 17200 et seq. (the “UCL”).
10                            JURISDICTION AND VENUE
11         9.    This Court has original jurisdiction over this action pursuant to 28
12 U.S.C. § 1332(d) because this is a class action in which: (1) there are over 100
13 members in the proposed class; (2) members of the proposed class have a different
14 citizenship from Defendant; and (3) the claims of the proposed class members
15 exceed $5,000,000 in the aggregate, exclusive of interest and costs.
16         10. This Court has personal jurisdiction over P&G because P&G conducts
17 and transacts business in the State of California, contracts to supply goods within
18 the State of California, and supplies goods within the State of California. P&G, on
19 its own and through its agents, is responsible for the formulation, ingredients,
20 manufacturing, labeling, marketing, and sale of the Product in California,
21 specifically in this district. The marketing of the Product, including the decision of
22 what to include on the label, emanates from P&G. P&G maintains distribution
23 centers in California and employs numerous employees in California. Thus, P&G
24 has intentionally availed itself of the markets within California through its
25 advertising, marketing, and sales of the Product to consumers, including Perkins.
26         11. Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391 because
27 a substantial part of the events or omissions giving rise to Perkins’ claims occurred
28 within this District, including Perkins’ purchases of the Product based on P&G’s
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                                CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1    Filed 01/07/25   PageID.8    Page 8 of 41



 1 dissemination of false and misleading information about the nature, quality, and/or
 2 ingredients of the Product.
 3                                       PARTIES
 4         12. Plaintiff Valerie Perkins is a citizen of and resides in California.
 5 Throughout 2022, Ms. Perkins purchased P&G’s ZzzQuil Pure Zzzs Products in the
 6 tablet and gummy forms which had the “helps you fall asleep naturally” label for
 7 approximately $15 per bottle at retail stores in El Cajon, California. When
 8 purchasing the Products, Perkins was exposed to, read, and relied on the “naturally”
 9 representation that was prominently displayed in green font on the Product’s front
10 label. At the time she made her purchases, Perkins believed that P&G’s ZzzQuil
11 Pure Zzzs “naturally” labeled Product was in fact natural, i.e., free of synthetic
12 ingredients, and that the primary ingredient of the Products, Melatonin, was not a
13 synthetically created substance. Perkins relied on P&G’s representation that the
14 ZzzQuil Pure Zzzs “naturally” labeled Product helped her sleep “naturally,” and she
15 would not have purchased the Products or would have paid less for the Products if
16 she had known they were not naturally created but, instead, contained synthetic
17 ingredients, including but not limited to the primary ingredient Melatonin. Perkins
18 was injured in fact and lost money as a result of P&G’s deceptive advertising.
19         13. Perkins would continue to purchase the Products at issue if they in fact
20 contained only natural ingredients that, by definition, could work to “naturally” help
21 her fall asleep. However, she is unable to rely on the Product’s advertising or
22 labeling in the future, and so will not purchase the Product although she would like
23 to. Additionally, Perkins may purchase P&G’s ZzzQuil Pure Zzzs “naturally”
24 labeled Products in the future as she would still like to purchase a product that
25 truthfully “naturally” helps with sleep, and she may reasonably, but incorrectly,
26 assume the Product was improved.
27         14. Perkins did not notice any disclaimer, qualifier, or other explanatory
28 statement or information on the Products’ labels or packaging that contradicted the
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                             CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET    Document 1     Filed 01/07/25   PageID.9   Page 9 of 41



 1 prominent “naturally” front-facing labeling representation or otherwise suggested
 2 that the Products do not “naturally” help with sleep. At the time of Perkins’
 3 purchases, she did not know the Melatonin and other ingredients in the Products
 4 were synthetically manufactured and highly processed.
 5        REASONABLE CONSUMERS RELY ON THE “NATURALLY”
 6                                   ADVERTISING
 7         15. There is a strong consumer demand for products that are “natural” and
 8 free of highly processed, artificial, and synthetic ingredients. This demand is
 9 especially strong for “naturally” made dietary supplements. A recent survey of over
10 1,000 adults conducted by the Trust Transparency Center concluded that Americans
11 favor “natural” dietary supplements over synthetically processed products and think
12 synthetic supplements should be specifically labeled as “synthetic.”2 In fact, the
13 results of the survey were so compelling that the founder of the Trust Transparency
14 Center observed that “Consumers expect brands to be transparent with their
15 materials and the results of this survey support that consumers want to know if the
16 product they’re buying is derived from synthetic material.” 3 Similarly, the medical
17 community has noted that “nutraceuticals of plant origin (plant-derived foods) tend
18 to be more accepted by consumer than others.”4
19         16. In recent years, consumers have poured billions of dollars into the
20 “natural” personal care market. Consumers value natural products for their
21 perceived benefits of avoiding the perceived negative health effects of synthetic and
22 artificial substances, attaining health and wellness, helping the environment,
23 assisting local farmers, assisting factory workers who would otherwise be exposed
24
   2
     Traci Kantowski, New Survey Finds Consumers Skeptical of Synthetic Dietary
25 Supplements;  Favor Labeling on All Synthetic Vitamins and Supplements, TRUST
   T RANSPARENCY CTR. (Sept. 5, 2018), https://trusttransparency.com/new-survey-
26 finds-consumers-skeptical-of-synthetic-dietary-supplements-favor-labeling-on-all-
27 synthetic-vitamins-and-supplements/
   3
     Id.
                                        [https://perma.cc/7AD8-TZZV].

28 a Marino  B. Arnao & Josefa Hernández-Ruiz, The Potential of Phytomelatonin as
   4
      Nutraceutical, 23(1) MOLECULES 238 (2018).
                                           8
                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.10     Page 10 of
                                       41


 1 to synthetic and hazardous substances, and financially supporting the companies
 2 that share these values.5 As such, there is a recognized association among
 3 consumers and the concept of nature (e.g., “natural” products) and positive feelings
 4 associated with nature. Peer-reviewed and published research has found that the
 5 perceived naturalness of a product is “very important” to consumers.6 In response
 6 to consumers’ desire for natural products, many companies, including P&G, have
 7 rushed to manufacture, market, and sell purported “natural” products in an effort to
 8 gain market share. Unfortunately, rather than creating the natural products
 9 consumers desire, P&G has instead chosen to “greenwash” the Products and market
10 them through deceptive labeling and advertising (i.e., the “naturally” advertising
11 claims, green font, and natural imagery) to convince consumers the Products are
12 made with natural ingredients. In reality, they contain numerous synthetic, artificial,
13 and highly processed ingredients.
14           17. A reasonable consumer understands the representation that a Product
15 “naturally” helps sleep to mean that none of its ingredients are synthetically created.
16 A synthetically created Product cannot and does not “naturally” help with sleep.
17           18. P&G reinforces the “naturally” claim by writing it in a bolded green
18 font. Green is the universal visual cue used to trigger implicit ecological and natural
19 inferences, “but green can be abused through greenwashing practices intended to
20 mislead consumers.” 7 Research has shown consumers “clearly associate the word
21 and colour green” with “natural/organic ingredients” and production standards.8
22           19. P&G also emphasizes the “naturally” claim through its use of natural
23 imagery on the Product labels including images of chamomile and lavender.
24           20. A reasonable consumer’s understanding of the term “naturally”
25
     5
26     Id.
     S. Roman et al., The importance of food naturalness for consumers: Results of a
     6
   systematic  review, 67 TRENDS FOOD SCI. & TECH. 44-57 (2017).
27 7 Dongjae Lim     et al., Colour effects in green advertising, 44 INT’L J. CONSUMER
   S TUD. 552 (2020).
28 8 Id. at 553 (citing peer-reviewed published research).
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                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.11     Page 11 of
                                       41


 1 comports with the common meaning of the terms, federal regulatory definitions,
 2 and the scientific community’s knowledge.
 3          21. Webster’s New World Dictionary defines “natural” as “produced or
 4 existing in nature; not artificial or manufactured.”9 Similarly, Dictionary.com
 5 defines “natural” as not “artificial.”10 The Merriam-Webster online dictionary
 6 defines “naturally” as “without artificial aid.” 11
 7          22. The “FDA agrees that the use of the word ‘natural’ on products that
 8 contain any artificial ingredients is inappropriate.”12 The FDA states that the term
 9 “natural” means “nothing artificial or synthetic.”13 The United States Department
10 of Agriculture (“USDA”) also states that the term “natural” means “(1) the product
11 does not contain any artificial flavor or flavoring, coloring ingredient, or chemical
12 preservative . . . or any other artificial or synthetic ingredient; and (2) the product
13 and its ingredients are not more than minimally processed.”14 The USDA
14 recognizes that any “solvent extraction, acid hydrolysis, and chemical bleaching
15 would clearly be considered more than minimal processing.” 15 Congress has
16 defined “nonsynthetic (natural)” as “[a] substance that is derived from mineral,
17 plant, or animal matter and does not undergo a synthetic process . . . .” 7 C.F.R. §
18 205.2.
19          23. The scientific community defines “synthetic” as “something that is
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   9
     SIMON & SCHUSTER, Webster’s New World Dictionary of the American Language
21 947  (2d college ed. 1984) (“natural,” definition no. 2).
   10
       See  Natural, DICTIONARY.COM (2023), https://www.dictionary.com/browse/
22 natural [https://perma.cc/K9L4-9T9U].
   11
      Naturally, MERRIAM-WEBSTER.COM (2024), https://www.merriam-webster.com/
23 dictionary/naturally  [https://perma.cc/7WEW-ECPS].
   12
      Letter from   Philip
24 DRUG ADMIN., to Urvashi C, Spiller, DEP’T HEALTH & HUMAN SERVS., U.S. FOOD &
                                     Rangan & Michael Crupain, FOOD SAFETY &
   S USTAINABILITY CTR., CONSUMERS UNION/CONSUMER REPS. (Dec. 11, 2014),
25 available at https://advocacy.consumerreports.org/wp-content/uploads/2019/05/
26 12_11_14_Letter_from_FDA_Caramel_Color-1.pdf.
   13
      Id.
   14
27 DEPOFF. POL’Y, PROGRAM & EMP. DEV., FOOD SAFETY & INSPECTION SERV., U.S.
        ’T AGRIC., Food Standards and Labeling Policy Book (2024), available at
   https://www.fsis.usda.gov/sites/default/files/import/Labeling-Policy-Book.pdf.
28 15 Id.
                                            10
                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.12     Page 12 of
                                       41


 1 man-made.” 16 Published scientific literature provides a useful example:
 2 “chemically synthesized B12 vitamin . . . is not natural . . . (obtained from Nature),
 3 it is synthetic.”17 In other words, any man-made product is not present in nature and
 4 is not “natural” and therefore cannot influence the body “naturally.”18
 5         24. Although there is no disclosure that the Products are synthetically
 6 made, any fine-print disclosure would contradict the express “naturally”
 7 representation on the front of the packaging. Further, a fine-print disclosure is not
 8 an effective or meaningful communication to consumers.19 Reasonable consumers,
 9 like Perkins, do not notice such a fine-print, illegible disclosure, especially
10 considering the bolded, highlighted, and prominent “Naturally” representation on
11 the front label that would contradict the disclosure.
12        COMPETITORS DO NOT USE “NATURAL” OR “NATURALLY”
13                                   ADVERTISING
14         25. The vast majority of P&G’s competitors do not use the deceptive
15 “naturally” labeling claim. P&G uses the “naturally” advertising to obtain an unfair
16 competitive advantage over its competitors and to increase sales because consumers
17 are willing to pay more for products which are advertised as “naturally” influencing
18
19   16
        Peter E. Nielsen, Natural – synthetic – artificial!, 1:1 ARTIFICIAL DNA: PNA &
20   XNA
     17
            58-59 (2010).
     18
        Id.
21      See id.
     19
         See, e.g., Karen Russo France & Paula Fitzgerald Bone, Policy Makers’
22   Paradigms and Evidence from Consumer Interpretations of Dietary Supplement
     Labels, 39(1) J. CONSUMER AFFS. 27-51 (2005); Marlys J. Mason et al., The Impact
23   of Warnings, Disclaimers, and Product Experience on Consumers’ Perceptions of
     Dietary Supplements, 41(1) J. CONSUMER AFFS. 74-99 (2007); Aaron S. Kesselheim
24   et al., Mandatory Disclaimers On Dietary Supplements Do Not Reliably
     Communicate The Intended Issues, 34(3) HEALTH AFFS. 438-46, 445 (2015) (“We
25   found ample evidence that such disclaimers are often misunderstood or ignored by
     consumers and had no effects on consumers’ ability to understand messages about
26   health care products and critically evaluate potentially unsupported statements
     about effectiveness or safety.”); Tonya Dodge, Consumers’ perceptions of the
27   dietary supplement health and education act: implications and recommendations,
     8 DRUG TESTING & ANALYSIS 407-09, 409 (2016) (“[R]esearch suggests that the
28   labelling requirements of DSHEA have little reliable impact on consumer beliefs
     about the risk and effectiveness of dietary supplements.”).
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                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET    Document 1 Filed 01/07/25     PageID.13    Page 13 of
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 1 the body. Below are several examples of other sleep-aids which do not implement
 2 deceptive “natural” advertising:
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25    THE PRODUCTS ARE NOT NATURAL AND, THUS, CANNOT HELP
26                      YOU “NATURALLY” FALL ASLEEP
27         26. Despite P&G’s advertising claims, the Products are not “natural” and,
28 thus, do not and cannot “naturally” help one fall asleep. For example, testosterone
                                          12
                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.14    Page 14 of
                                       41


 1 is a natural hormone when made by the body, similar to the Melatonin that is made
 2 by the body, but taking exogenous testosterone is not a “natural” way to increase
 3 testosterone levels. The medical community states that “natural options” for
 4 increasing testosterone are losing weight and eating healthy.20 “Medication options”
 5 include consuming or absorbing synthetically created testosterone. 21 This is why it
 6 is called “testosterone replacement therapy” and not simply a product that
 7 “naturally” increases testosterone levels.
 8         27. Specific to the primary ingredient in the Products, Melatonin, the Mayo
 9 Clinic states that “[t]he term ‘natural’ means the hormones in the product come
10 from plant or animal sources. They’re not made in a lab.”22 The American Academy
11 of Family Physicians explains for Melatonin “[t]here are two types: natural and
12 synthetic (manmade). Natural melatonin is made from the pineal gland of animals.
13 This form could be contaminated with a virus, so it’s not recommended.” 23
14         28. The Products contain the following artificial or synthetic ingredients:
15         29. Melatonin, the primary ingredient in all the Products and printed on
16 the front-facing label of the Products, is a non-natural, synthetically manufactured
17 ingredient. Melatonin is made in a lab and is chemically synthesized, which requires
18 the use of toxic solvents and catalysts. Melatonin is not extracted from natural
19 sources. Melatonin was first isolated and characterized by the methoxy derivative
20 of serotonin from bovine pineal tissue in an experiment which was published in
21 1960.24 The experiment utilized 100 kg of bovine pineal glands to isolate Melatonin.
22
23   20
        UT SOUTHWESTERN MED. CTR., How low testosterone treatment can help – and
24   harm – a man’s sex drive and fertility (Jan. 6, 2021), https://utswmed.org/medblog/
     low-testosterone-symptoms-causes-treatment/
     21
                                                      [https://perma.cc/V3P7-3AMT].
25      Id.
     22
        Tatnai Burnett, Bioidentical hormones: Are they safer?, MAYO CLINIC (Dec. 7,
26   2022),         https://www.mayoclinic.org/diseases-conditions/menopause/expert-
     answers/bioidentical-hormones/faq-20058460       [https://perma.cc/UHY4-SQSK].
27
     23
        AM. ACAD. FAM. PHYSICIANS, Melatonin (Aug. 2023), https://familydoctor.org/
     melatonin/ [https://perma.cc/7VST-SQQ3].
28
     24
        Aaron B. Lerner et al., Isolation of Melatonin and 5-Methoxyindole-3-acetic Acid
     from Bovine Pineal Glands, 235(7) J. BIOLOGICAL CHEMISTRY 1992-97 (1960).
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                                  CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.15     Page 15 of
                                       41


 1 The isolation required the use of the solvents methanol, ethanol, propanol, ethyl
 2 acetate, benzene, and heptane. Analytical grade petroleum ether was also utilized.
 3 Today, melatonin is not commercially synthesized from bovine pineal grands due
 4 to risks of viral contamination. Instead, it is synthesized utilizing abundantly
 5 available toxic solvents and catalysts. For example, in 1960, Szmuszkovicz et al.
 6 reported two novel chemical pathways to synthesize Melatonin utilizing
 7 commercially available starting materials.25 In the first synthesis, a displacement
 8 reaction was produced using 5-methoxyindole and cyanide, lithium aluminum
 9 hydride reduction, and acetylation. 26 In the second synthesis, 5-methoxyindole-3-
10 aldehyde was condensed with nitromethane and the resulting unsaturated nitro
11 compound was reduced with lithium aluminum hydride and acetylated. More
12 recently, it was reported in Synthetic Communications that melatonin is synthesized
13 by preparing phthalimide through a four-pot reaction which requires the use of
14 microwave irradiation, a heating process which produces a higher Melatonin
15 yield. 27 Phthalimide, the starting material for Melatonin synthesis, is produced from
16 reacting phthalic anhydride and ammonia in a reaction tube at 250-80 degrees
17 Celsius.28 Exogenous Melatonin can be made from plants which has been recently
18 called “Phytomelatonin” in a peer-reviewed article published in Molecules.29 The
19 authors     explained    the   “differences   between    synthetic     melatonin   and
20
21   25
        J. Szmuszkovicz et al., Synthesis of N-Acetyl-5-methoxytryptamine, 25(5) J. ORG.
22   C  HEM. 857-59 (1960).
     26
         Cyanide is toxic by skin absorption, ingestion, and inhalation. See NAT’L CTR.
23   BIOTECH. INFO., NAT’L LIBR. MED., NAT’L INSTS. HEALTH, Cyanide Ion, PUBCHEM
     (accessed Dec. 26, 2024), https://pubchem.ncbi.nlm.nih.gov/compound/Cyanide-
24   ion [https://perma.cc/26M2-2FVZ]. Lithium aluminum hydride is an inorganic
     compound and a well-known “reducing agent” in the field of organic chemistry. See
25   A. E. Finholt et al., Lithium Aluminum Hydride, Aluminum Hydride and Lithium
     Gallium Hydride, and Some of their Applications in Organic and Inorganic
26   Chemistry,  69(5) J. AM. CHEM. SOC’Y 1199-1203 (1947).
     27
         Ling He, Microwave Assisted Synthesis of Melatonin, 33(5) SYNTHETIC
27   C  OMMC’NS 741-47 (2003).
     28
          Peter M. Lorz et al., Phthalic Acid and Derivatives, in ULLMANN’S
28   E NCYCLOPEDIA OF INDUSTRIAL CHEMISTRY (2007).
     29
        Arnao, supra note 4, at 238.
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                                  CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET       Document 1 Filed 01/07/25    PageID.16    Page 16 of
                                         41


 1 phytomelatonin” in the publication. The authors note that “[p]ractically all
 2 melatonin supplements that are marketed are made from synthetic or animal origin”
 3 and “phytomelatonin” refers to melatonin made from plant precursors. The authors
 4 explain for synthetically created Melatonin, like the Melatonin in the Products,
 5 “[t]here are various production methods involving several synthetic routes.”30
 6 These include chemical syntheses utilizing the precursor chemicals: 5-Methoxy-3-
 7 indolylacetonitrile, 5-Methoxy-3-(2-nitroethyl)-indole, 5-Methoxytryptamine, and
 8 Phthalimide.31 The authors explain that these synthetic processes yield “a large
 9 number of side products, i.e., residual compounds of the melatonin preparation
10 processes also appear.” 32 The “most common of these which are present in the
11 commercially available synthetic melatonin preparations”33 are listed below 34:
12
13
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15
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19
20
21 The authors note that “[u]p to 14 contaminants have been described in the organic
22 synthesis of melatonin . . . .” 35 The authors further note that the phthalimide
23 synthesis is “subject to multiple toxicological investigations,”36 and “the fact that
24
25   30
        Id. at 246.
26
     31
        Id. at 247 (Table 3).
     32
     33
        Id. at 246.
27      Id.
     34
     35
        Id. at 247 (Table 4).
28      Id.
     36
       Id. at 248.
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                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET       Document 1 Filed 01/07/25      PageID.17    Page 17 of
                                         41


 1 phthalimide is present in toxic compounds such as pesticides and fungicides,
 2 suggests that some degree of toxicity is to be expected.” 37 As such, there is a “degree
 3 of risk involved in taking chemically synthesized melatonin supplements.” 38 The
 4 authors note that only “five commercial formulations exclusively composed of
 5 phytomelatonin are known.”39 The Products do not include phytomelatonin.
 6 Synthetic Melatonin is the primary ingredient in all of the Products.
 7          30. Acesulfame Potassium, also known as Ace-K, is an artificial
 8 sweetener. It was discovered in 1967 and is synthesized through a multistep
 9 chemical process. Acetoacetic acid is reacted with hydrochloric acid and ammonia
10 to form an intermediate compound called acetoacetamide. Acetoacetamide is then
11 reacted with potassium hydroxide to form potassium acetoacetamide. Sulfuryl
12 chloride is added to potassium acetoacetamide to form the final product, acesulfame
13 potassium. The resulting product is purified through a series of filtration and
14 crystallization steps to obtain a fine powder of acesulfame potassium.
15          31. Blue 1 is a synthetic food coloring. It is synthesized from petroleum-
16 based chemicals through a multi-step process. The starting material is typically
17 naphthalene, which is chemically modified through a series of reactions that can
18 include sulfonation, oxidation, and diazotization. The resulting compound is then
19 further processed to produce the final dye molecule. Studies have indicated that
20 Blue 1 has known adverse health effects. The Center for Science in the Public
21 Interest has published a report noting that an unpublished study has reported that
22 potential kidney tumors can result from ingestion of Blue 1.40 Another study found
23 possible adverse effects on nerve cells. Blue 1 “can cause hypersensitivity
24 reactions.”
25
26   37
        Id.
     38
27      Id.
     39
        Id. at 249; see also id. (Table 5).
    Sarah Kobylewski & Michael F. Jacobson, CTR. SCI. PUB. INT., Food Dyes: A
     40
28 Rainbow of Risks v, 10, 12 (2010).
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.18     Page 18 of
                                       41


 1         32. Blue 2 Lake is a synthetic food coloring. It is created by mixing Blue
 2 2 (Indigo Carmine) with a substrate, such as alumina or calcium carbonate, and
 3 applying heat and pressure to form a crystalline structure that is insoluble in water.
 4 Blue 1 and Blue 2 Lake are two different forms of the same synthetic food color
 5 additive, Indigo Carmine (also known as Indigotine). The primary differences
 6 between the two are in their physical form and properties. Blue 2 Lake is chemically
 7 treated to make it insoluble in water.
 8         33. The ingredient Calcium Phosphate in the Products is a non-natural,
 9 synthetically manufactured ingredient. “Calcium phosphate” is the common name
10 for compounds containing one or more calcium and phosphate ions. It is produced
11 by reacting phosphoric acid (H3PO4) with solid calcium hydroxide Ca(OH)2.
12 Dicalcium phosphate anhydrate is used in cements, polishing agents, and dietary
13 supplements. 41 It does not occur in normal or pathological calcifications.42 Purified
14 phosphate rock is reacted with calcium carbonate in the presence of an acid, which
15 is typically hydrochloric acid. Hydrochloric acid is a strong, corrosive acid that can
16 be used industrially to process steel used in the building and construction industry.43
17 It is used in the chemical industry in the large-scale production of vinyl chloride
18 used to make polyvinyl chloride (PVC) plastic, and it is one of the chemicals that is
19 used to produce polyurethane foam and calcium chloride. Hydrochloric acid is also
20 used to make many other chemicals and as a disinfectant and slimicide, a chemical
21 that prevents the growth of slime in paper stock. Other common end uses for
22 hydrochloric acid include household cleaners, pool maintenance, and food
23 manufacturing. Hydrochloric acid in its concentrated, liquid form has a strong
24 irritating odor and is very corrosive. The food industry uses hydrochloric acid to
25
   41
      Sergey V. Dorozhkin & Matthias Epple, Biological and Medical Significance of
26 Calcium
   42
             Phosphates, 41(17) ANGEWANDTE CHEMIE INT’L ED. 3130-46 (2002).
      Id.
27 43 Hydrochloric Acid, CHEMICALSAFETYFACTS.ORG (Oct. 14, 2022),
28 https://www.chemicalsafetyfacts.org/chemicals/hydrochloric-acid/
   [https://perma.cc/M38R-EK75].
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET      Document 1 Filed 01/07/25        PageID.19    Page 19 of
                                        41


 1 process a variety of food products. The reaction of the phosphate rock, calcium
 2 carbonate, and hydrochloric acid produces calcium phosphate. Calcium phosphate
 3 can also be made by reacting calcium oxide or calcium hydroxide and phosphoric
 4 acid. The reactants are mixed together either by adding phosphoric acid to calcium
 5 oxide or by adding calcium oxide to phosphoric acid. The mixing is done under
 6 controlled conditions to ensure the appropriate temperature, pH, and other reaction
 7 parameters are maintained. The mixing of reactants results in the formation of
 8 different types of calcium phosphate such as monocalcium phosphate (MCP),
 9 dicalcium phosphate (DCP), and tricalcium phosphate (TCP). The synthesized
10 product is then purified by removing any impurities or by-products formed during
11 the reaction. Purification is typically done through filtration, centrifugation, or other
12 methods. The synthetic extraction process for calcium phosphate is the most
13 common method of production as it is a reliable and consistent method for
14 producing the substance for use in dietary supplements.
15         34. The ingredient Calcium Carbonate in the Products is a non-natural,
16 synthetically manufactured ingredient. Like calcium phosphate, calcium carbonate
17 used for food and pharmaceuticals begins with quarrying marble. The process
18 involves more than merely crushing rocks into dust. After a coarse grinding of the
19 rock, mineral impurities are floated out of a slurry using a chemical flotation agent
20 known as tall oil. Tall oil is a by-product mixture of saponified fatty acids (30%–
21 60%), resin acids (40%–60%, including mostly abietic and pimaric acids), and
22 unsaponifiables (5%–10%) derived from the wood extractives of softwoods. Crude
23 tall oil is isolated from acidified skimming of partially concentrated black liquor.
24 Black liquor is an industrial chemical. It is an aqueous solution of lignin residues,
25 hemicellulose, and the inorganic chemicals used in the process. The black liquor
26 comprises 15% solids by weight of which two thirds are organic chemicals and the
27 remainder are inorganic. The isolated tall oil is then collected and refined at
28 specialized processing plants. The refined products are sold commercially for soaps,
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.20     Page 20 of
                                       41


 1 rosin size, etc. Typically, 30–50 kg/t (60–100 lbs/ton) on pulp may be recovered
 2 from highly resinous species representing about 30%–70% recovery.44 The wash
 3 water and impurities are pumped outside the plant and into a series of unlined
 4 settling cells and former quarries. Processing begins after the calcium carbonate is
 5 retrieved and checked for impurities. The specified aggregate is then transferred to
 6 the Calcium Carbonate plant, in which it is milled and graded to various granular.
 7 Limestone is converted into calcium oxide and carbon dioxide by means of
 8 calcification at temperatures in excess of 900°C. The calcification process must be
 9 carried out by using natural gas. After the calcined lime has been slaked with water,
10 the result lime is purified and carbonated with the carbon dioxide obtained from the
11 calcification process. Following total carbonation, a suspension of CaCO3 results.
12 A cake comprising 40% - 60% solid matter is then obtained by filtration. Depending
13 on the chemical composition of the milk of lime used and on the purifying stages
14 during production, both technical as well as foodstuff and pharmaceutical grades
15 such as antacids can be produced using the Precipitated Calcium Carbonate Center-
16 Manufacturing Process. The Precipitated Calcium Carbonate (“PCC”) Center-
17 Manufacturing production process consists of decarbonating limestone, which
18 separates the CaO (calcium oxide) and CO2 (carbon dioxide). Precipitated calcium
19 carbonate is produced by slaking high-calcium quicklime to create a lime slurry that
20 is then combined with captured carbon dioxide. An even precipitation process
21 allows good control of the crystallization and particle size of the PCC. Lime
22 reactivity is key to achieving a finer particle size distribution and particle shape of
23 PCC, as well as the stability of the process. 45
24         35. Citric Acid in the Products is a synthetic, non-natural ingredient. Citric
25
26    Pratima Bajpai, BIERMANN’S HANDBOOK OF PULP AND PAPER VOL. 1 (3d ed.
     44
   2018).
27 45       CARMEUSE,        Precipitated    Calcium       Carbonate       (2024)
   https://www.carmeuse.com/na-en/pcc-and-pulp-paper/precipitated-calcium-
28 carbonate [https://perma.cc/F3Q8-4HSD] [https://perma.cc/9ZG7-6TKQ].
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.21    Page 21 of
                                       41


 1 acid is not extracted from citrus fruits, but industrially manufactured via microbial
 2 fermentation with typically genetically modified black mold (Aspergillus niger) by
 3 feeding it highly processed and/or genetically modified corn syrup. The FDA has
 4 recognized citric acid as a “chemical preservative.”46 In fact, the FDA has issued
 5 letters to companies warning them that a product is deceptively labeled if it is
 6 advertised as natural when it contains citric acid. 47
 7         36. Croscarmellose Sodium is a synthetic, non-natural polymer. It is
 8 commonly used as a disintegrant in pharmaceuticals to promote the rapid release
 9 and dissolution of the active ingredients.48 Croscarmellose sodium is made by first
10 reacting cellulose with a solution of sodium hydroxide and monochloroacetic acid
11 to produce sodium carboxymethylcellulose. Sodium Carboxymethylcellulose is
12 then reacted with an agent such as epichlorohydrin in an alkaline environment. The
13 resulting product is treated with acid to produce croscarmellose sodium. In large
14 doses, croscarmellose sodium can create intestinal blockage—industrial workers
15 producing this polymer are at the greatest risk. 49
16         37. D-Mannitol is a highly processed ingredient which is sourced from the
17 byproduct of industrial sugar processing. Mannitol is hydrogenated using hydrogen
18 gas and a catalyst such as palladium. This converts the fructose into mannitol by
19 adding hydrogen atoms to the fructose molecule. It is then filtered to remove the
20
21
      See David Bellm, Food packaging: FDA says Chiquita labels are misleading,
     46
22 PACKAGING     DIGEST (Mar. 11, 2015), https://www.packagingdigest.com/trends-
   issues/food-packaging-fda-says-chiquita-labels-are-misleading
23 3GAY-MTNU].                                                      [https://perma.cc/
   47
      See Warning Letter from FDA to Hirzel Canning Co. (Aug. 29, 2001); Warning
24 Letter  from FDA to Richard Classey, Oak Tree Dairy Farm (Aug. 16, 2001).
   48
      P ARCHEM, Croscarmellose Sodium and Microcrystalline Cellulose are highly
25 functional and efficient raw materials (2024), https://www.parchem.com/news-
26 articles/Croscarmellose-Sodium-and-Microcrystalline-Cellulose-are-highly-
   functional-and-efficient-raw-materials-N000121.aspx     [https://perma.cc/KQ5H-
   XSMC].
27 49 NB ENTREPRENEURS, Croscarmellose Sodium – The Polymer in Demand (2018),
   https://nb-cellulose.com/blog/croscarmellose-sodium-the-polymer-in-demand/
28 [https://perma.cc/E2RD-27Z9].
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET      Document 1 Filed 01/07/25        PageID.22    Page 22 of
                                        41


 1 catalyst. Mannitol is used as a preoperative bowel cleanser. 50
 2         38. Fumaric Acid is synthesized commercially through the catalytic
 3 isomerization of maleic acid. The chemical process involves using a catalyst, such
 4 as a metal oxide, which is added to the maleic acid solution and the mixture is heated
 5 to a high temperature. The maleic acid is converted into fumaric acid through a
 6 chemical reaction catalyzed by the metal oxide. Fumaric acid is sometimes used in
 7 combination with other acids, such as citric acid, to create a sour taste that is similar
 8 to that of natural fruit juices.
 9         39. Hydroxypropyl Cellulose is a non-natural, synthetic ingredient. The
10 production of Hydroxypropyl Cellulose involves multiple steps. First, cellulose is
11 treated with a mixture of propylene oxide and caustic soda (sodium hydroxide) to
12 introduce hydroxypropyl groups onto the cellulose backbone. Propylene Oxide is a
13 synthetic, highly-flammable, volatile, colorless liquid that is soluble in water and
14 miscible with many organic solvents. Propylene oxide is used primarily as a
15 chemical intermediate in the production of polyethers and propylene glycol. It is
16 also used as a pesticide and a fumigant for the sterilization of packaged foods and
17 plastic medical instruments. Acute inhalation exposure to vapors of this compound
18 can result in respiratory tract irritation, coughing, difficulty in breathing (dyspnea)
19 and buildup of fluid in the lungs (pulmonary edema) that can possibly lead to
20 pneumonia.51 The propylene oxide and caustic soda reaction occurs at elevated
21 temperature and pressure and is typically carried out in a reactor. After the
22 etherification reaction is complete, the resulting product is neutralized with an acid
23 to remove excess caustic soda and then washed several times to remove impurities.
24         40. Hydroxypropyl Methylcellulose is similar to hydroxypropyl cellulose
25
26    Hany Shawkat et al., Mannitol: a review of its clinical uses, 12(2) CONTINUING
     50
   E DUC. ANAESTHESIA, CRITICAL CARE & PAIN 82-85 (2012).
27 51 NAT’L CTR. BIOTECH. INFO., NAT’L LIBR. MED., NAT’L INSTS. HEALTH, Propylene
   Oxide, PUBCHEM (accessed Dec. 26, 2024), https://pubchem.ncbi.nlm.nih.gov/
28 compound/Propylene-oxide   [https://perma.cc/B7UT-6VG6].
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                             CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET    Document 1 Filed 01/07/25       PageID.23    Page 23 of
                                      41


 1 as are both modified cellulose derivatives. Hydroxypropyl Methylcellulose is a
 2 methyl ether of cellulose that has been further modified with hydroxypropyl groups,
 3 while hydroxypropyl cellulose is a straight-chain ether of cellulose that has been
 4 modified with hydroxypropyl groups. It is made by treating cellulose with an
 5 alkaline solution to remove impurities and create a cellulose pulp. The cellulose
 6 pulp is then treated with a mixture of methanol and sodium hydroxide to form a
 7 cellulose alkali. Propylene oxide is added to the cellulose alkali under controlled
 8 conditions of temperature and pressure, and the reaction is allowed to proceed until
 9 the desired degree of substitution is achieved. The resulting product is then treated
10 with hydrochloric acid to remove any unreacted materials and neutralize the alkali.
11         41. Malic Acid in the Products is a synthetic, non-natural ingredient. Malic
12 acid is a dicarboxylic acid which is produced synthetically through various
13 methods. Malic acid can be made using fumaric acid, a dicarboxylic acid, that can
14 be converted into malic acid through hydration. Fumaric acid is made industrially
15 through the use of catalytic oxidation of benzene or butane. Fumaric acid is used in
16 the production of various polymers, resins, and coatings, as well as in the
17 manufacture of certain types of plastics. The fumaric acid reaction is catalyzed by
18 certain enzymes or acid catalysts. This method is commonly used in the food
19 industry to produce malic acid. Malic acid can also be produced through
20 fermentation of sugars or starches by certain microorganisms, such as Aspergillus
21 oryzae, Schizosaccharomyces pombe, and Lactobacillus plantarum. Malic acid can
22 be produced synthetically through chemical reactions using various starting
23 materials such as acetylene, carbon monoxide, and formaldehyde.
24         42. Maltodextrin is a non-natural, synthetic ingredient. Maltodextrin is a
25 type of carbohydrate and “undergoes intense processing.”52 It is manufactured by
26 heating raw starch materials and then adding acids or enzymes to break it down
27
   52
      WEBMD, What Is Maltodextrin? (July 10, 2023), https://www.webmd.com/diet/
28 what-is-maltodextrin [https://perma.cc/2RTM-AGD6].
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.24     Page 24 of
                                       41


 1 through a process called enzymatic hydrolysis. 53 In this process, the starch slurry is
 2 mixed with water and heated to a specific temperature to activate the enzymes.
 3 Enzymes like amylase are added to the solution to break down the starch into shorter
 4 chains of glucose molecules. A diet with excess Maltodextrin will increase the risk
 5 of developing type 2 diabetes and high cholesterol. 54
 6          43. Magnesium Stearate is a magnesium salt that is listed as a synthetic
 7 ingredient under 7 C.F.R § 205.605(b); this ingredient is “prohibited in agricultural
 8 products labeled ‘organic.’” § 205.605(b). Magnesium Stearate is manufactured by
 9 using crude stearic acid which is distilled. Next, the stearic acid is then mixed with
10 magnesium hydroxide in a reactor vessel. The mixture is heated and agitated to
11 promote the reaction, which results in the formation of magnesium stearate and
12 water.
13          44. Polyethylene Glycol (PEG) is synthetically made by polymerizing
14 ethylene oxide monomers, which are chemically modified to produce the final PEG
15 polymer. PEG is made by the following steps. Ethylene oxide production: Ethylene
16 oxide is produced by the direct oxidation of ethylene using a silver oxide catalyst.
17 The resulting ethylene oxide gas is then purified through distillation to remove
18 impurities. Polymerization: Ethylene oxide gas is then polymerized in the presence
19 of a catalyst, such as a potassium hydroxide or ethylene diamine. The
20 polymerization process can be carried out using either a batch or continuous
21 process. During polymerization, the ethylene oxide monomers react with each other
22 to form long chains of PEG. Purification: The resulting PEG polymer is typically
23 purified through a series of washing and filtration steps to remove any unreacted
24 ethylene oxide or catalysts. The PEG may also be subjected to additional processing
25 steps, such as drying, milling, or blending with other materials, depending on the
26
   53
      Z. Rayhani et al., Classification of dextrose equivalent analysis maltodextrin
27 starch  seeds through enzymatic hydrolysis reaction, 420 IOP CONF. SERIES:
   M  ATERIALS SCI. & ENG’G 012072 (2018).
28 54 WEBMD, supra note 52.
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                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.25    Page 25 of
                                       41


 1 intended use of the material.
 2         45. Polyvinyl Alcohol is a synthetic polymer. It is derived from the
 3 polymerization of vinyl acetate monomers, which are chemically modified to
 4 produce the final polymer. Polyvinyl alcohol is made suing the following steps.
 5 Hydrolysis: Vinyl acetate monomers are first reacted with water in the presence of
 6 a catalyst, such as sodium hydroxide or sulfuric acid. This causes the vinyl acetate
 7 to undergo hydrolysis, resulting in the formation of vinyl alcohol monomers.
 8 Polymerization: The vinyl alcohol monomers are then polymerized through a
 9 process called chain-growth polymerization. This involves the addition of a free
10 radical initiator, such as potassium persulfate, which triggers the polymerization
11 reaction and causes the monomers to link together to form the polymer. Purification:
12 The resulting polymer is purified through a series of washing and filtration steps to
13 remove any unreacted monomers, catalysts, or impurities. Polyvinyl alcohol is
14 subjected to additional processing steps, such as drying, grinding, or blending with
15 other materials, depending on the intended use of the material.
16         46. Red 40 is a synthetic food coloring. Red 40 is synthesized from
17 petroleum-based chemicals through a multi-step process. The main starting
18 materials are petroleum-derived aromatic compounds such as benzene, toluene, or
19 naphthalene. These compounds are chemically modified through a series of
20 reactions that can include nitration, reduction, and sulfonation. The resulting
21 compound is then further processed to produce the final dye molecule. The use of
22 Red 40 has been the subject of controversy, with studies indicating that it may have
23 adverse health effects. Published research55 has noted that Red 40 has been found
24 to be contaminated with benzidine or other carcinogens. Red 40 is known to cause
25 hypersensitivity reactions.
26         47. Red 40 Lake is a type of Red 40 that has been chemically treated to
27
      Sarah Kobylewski & Michael F. Jacobson, Toxicology of food dyes, 18(3) INT’L
     55
28 J. O CCUPATIONAL & ENV’T HEALTH 220-46 (2012).
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                           CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.26     Page 26 of
                                       41


 1 make it insoluble in water. Red 40 Lake is created by combining Red 40 with a
 2 substrate, such as alumina or calcium carbonate, and applying heat and pressure to
 3 form a crystalline structure.
 4         48. Silicon Dioxide in the Products is a non-natural, synthetic ingredient.
 5 Silicon dioxide used in dietary supplements is produced using the precipitation
 6 method or the sol-gel process. The precipitation method involves adding a silica
 7 precursor, such as sodium silicate, to an acid solution. The acid reacts with the
 8 sodium silicate to form a silica gel, which is then washed and dried to produce a
 9 powder. The resulting silica powder is then milled to the desired particle size. The
10 sol-gel process involves the hydrolysis and condensation of a silica precursor, such
11 as tetraethyl orthosilicate (TEOS), in a solvent. The reaction is typically carried out
12 at room temperature or slightly higher, and the resulting gel is dried and calcined to
13 produce silica particles. The silica particles are then milled to the desired particle
14 size.
15         49. Sodium Citrate in the Products is a synthetic, non-natural ingredient.
16 Sodium Citrate is the trisodium salt of citric acid, which is synthetically created by
17 mycological fermentation of crude sugar stocks. Sodium citrate is listed as being
18 “synthetic” under 7 C.F.R. § 205.605.
19         50. Sodium Polyphosphate is a synthetic ingredient that is commonly
20 used in food production and processing. It is a type of polyphosphate that is
21 composed of multiple linked phosphate units, and it is used primarily as a
22 sequestrant and emulsifier. Sodium polyphosphate is made by the chemical reaction
23 of sodium carbonate with phosphoric acid. The resulting compound is a white,
24 odorless powder that is highly soluble in water. Sodium Polyphosphate is used in a
25 variety of industrial applications, including water treatment, detergents, and
26 ceramics.
27         51. Sodium Potassium Tartrate is produced synthetically by combining
28 potassium tartrate (also known as cream of tartar) with sodium carbonate or sodium
                                          25
                               CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET      Document 1 Filed 01/07/25      PageID.27     Page 27 of
                                        41


 1 hydroxide in water. The resulting solution is then crystallized to produce the salt.
 2 Sodium hydroxide, also known as caustic soda, is a highly caustic and reactive
 3 compound that is commonly used in industry and manufacturing. It is a strong base
 4 that can dissolve in water to produce a highly alkaline solution. Sodium hydroxide
 5 is highly corrosive and can cause severe burns and other injuries if not handled
 6 properly.
 7         52. Stearic acid, also known as octadecanoic acid, is a non-natural,
 8 synthetic ingredient. It is manufactured by heating fats and oils with an alkaline
 9 catalyst, such as sodium hydroxide or potassium hydroxide, to break the ester bonds
10 between the fatty acids and glycerol. The resulting mixture of fatty acids is then
11 separated through fractional distillation. This process separates the fatty acids based
12 on their boiling points and produces a purer form of stearic acid. The stearic acid is
13 separated from any liquid fatty acids or glycerol. The stearic acid may then be
14 hydrogenated to produce a more stable and higher melting point product.
15 Hydrogenation involves adding hydrogen gas to the stearic acid in the presence of
16 a catalyst, typically nickel or palladium, to saturate the carbon-carbon double bonds
17 in the fatty acid chains.
18         53. Titanium Dioxide is synthetically manufactured. The chemical process
19 involves using chorine gas in a high temperature reactor to produce titanium
20 tetrachloride. The titanium tetrachloride is then oxidized in the presence of air or
21 oxygen to produce titanium dioxide particles. The oxidation process can be carried
22 out using either a sulfate or a chloride process, depending on the intended use of the
23 titanium dioxide. The resulting titanium dioxide particles are typically purified
24 through a series of washing and filtration steps to remove any impurities, such as
25 residual chloride ions or heavy metals. In January 2020, the European Food Safety
26 Authority (EFSA) issued a scientific opinion on the safety of titanium dioxide as a
27 food additive, in which they concluded that there was insufficient evidence to
28 establish a safe level for daily intake. As a result, the European Commission has
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                               CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.28     Page 28 of
                                       41


 1 proposed a ban on the use of titanium dioxide as a food additive, which is expected
 2 to come into effect in late 2021. This ban applies to all uses of titanium dioxide in
 3 food, including its use as a whitening agent and opacifier in confectionery, bakery
 4 products, and other food products.
 5         54. As a result of the presence of these artificial and synthetic ingredients
 6 in the Products, reasonable consumers have been misled by P&G’s false and
 7 misleading representation that the Products “naturally” help one to sleep.
 8 Consumers lack the meaningful ability to test or independently ascertain the
 9 truthfulness of labeling claims such as “natural” and “naturally,” especially at the
10 point of sale. Consumers would not know the true nature of the ingredients merely
11 by reading the ingredient label; its discovery requires investigation beyond the retail
12 store and knowledge of chemistry beyond that of the average consumer. Thus,
13 reasonable consumers must and do rely on companies such as P&G to honestly
14 report the nature of a supplement’s ingredients, and companies such as P&G intend
15 and know that consumers rely upon labeling statements in making their purchasing
16 decisions. There is a reason P&G places the “naturally” claim prominently on the
17 front label—to influence consumers’ purchasing decisions when deciding to buy
18 the Products.
19         55. P&G’s representation that the Products help you “naturally” sleep is a
20 material representation because consumers attach importance to “naturally” claims
21 when making purchase decisions, especially for products they consume like dietary
22 supplements. P&G markets and advertises that the Products “naturally” help one to
23 sleep in order to differentiate the Products from other sleep-aids, increase sales, and
24 persuade consumers to purchase the Products. Perkins and the members of the Class
25 were intended consumers of P&G’s deceptive and misleading representation and
26 reasonably relied to their detriment on P&G’s misleading “naturally”
27 representations.
28         56. P&G’s false, misleading, and deceptive misrepresentations are likely to
                                          27
                             CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET      Document 1 Filed 01/07/25       PageID.29     Page 29 of
                                        41


 1 deceive and mislead reasonable consumers and the general public. As a result of
 2 P&G’s false, misleading, and deceptive representation that its Products “naturally”
 3 provide sleep, P&G injured Perkins and the members of the Class in that Perkins
 4 and the members of the Class: paid a sum of money for Products that were not as
 5 represented; were deprived of the benefit of the bargain because the Products they
 6 purchased were different from what P&G warranted; were deprived of the benefit
 7 of the bargain because the Products they purchased had less value than what P&G
 8 represented; received Products that were of a different quality than what P&G
 9 promised; and were denied the benefit of truthful labels.
10         57. Perkins and the members of the Class would not have purchased the
11 Products if they had known that the Products were not “natural,” and thus cannot
12 and do not “naturally” provide sleep. Alternatively, Perkins and the members of the
13 Class would not have purchased the Products at the price paid had they known that
14 the Products contained artificial and synthetic ingredients and are thus, not “natural”
15 and do not “naturally” provide sleep. Accordingly, Perkins and the members of the
16 Class have suffered injury in fact, lost money or property, and suffered economic
17 damages as a result of P&G’s wrongful conduct.
18         58. Perkins and the members of the Class seek damages and equitable
19 relief, including, but not limited to, injunctive relief, restitution, and disgorgement.
20          THE IMPACT OF DEFENDANT’S WRONGFUL CONDUCT
21         59. P&G conveyed and continues to convey that the Products will
22 “naturally” help you fall asleep when the Products are comprised almost entirely of
23 synthetic ingredients. Thus, the Products do not and cannot not “naturally” help you
24 fall asleep because they are not natural. Synthetic and highly processed ingredients
25 do not “naturally” influence the body.
26         60. As the manufacturer and distributor of the Products, P&G possesses
27 specialized knowledge regarding its content and effects of its ingredients, and P&G
28 is in a superior position to know whether the Products are deceptively advertised.
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                                CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET    Document 1 Filed 01/07/25      PageID.30    Page 30 of
                                      41


 1 In fact, P&G acknowledges that its “ZzzQuil was developed by the trusted sleep
 2 experts at Vicks.”56
 3         61. Specifically, P&G knew, but failed to disclose, or should have known,
 4 that the Products’ “naturally” labeling is deceptive as the Products are not natural
 5 and do not and cannot help a person “naturally” fall asleep.
 6         62. P&G knew, but failed to disclose, or should have known, that the
 7 Products could only synthetically work.
 8         63. P&G knew, but failed to disclose, or should have known, that the
 9 Products primary ingredients are synthetically created by industrial processes and
10 are not natural and are not produced by natural processes as the front-facing label
11 indicates.
12         64. Perkins and the Class members have been and will continue to be
13 deceived by P&G’s deceptive representations.
14         65. P&G’s affirmative “naturally” representations and omissions about the
15 synthetic ingredients were a material factor in influencing Perkins’ and the Class
16 members’ decisions to purchase the Products. P&G’s conduct has injured Perkins
17 and the Class members because the Product’s do not work “naturally” or influence
18 sleep “naturally.” Had Perkins and other reasonable consumers known this, they
19 would not have purchased the Products or would not have paid the prices they paid.
20         66. The Products retail for approximately $15 per unit. Because of P&G’s
21 unlawful and deceptive advertising, the Products have become one of the highest-
22 selling products in the sleep-aid product category. P&G claims the Products are the
23 “WORLD’S #1 SLEEP AID BRAND.”57
24                        NO ADEQUATE REMEDY AT LAW
25         67. Plaintiff and the Class members seek equitable relief, as no adequate
26
   56
       WALMART, Vicks PURE Zzzs Melatonin Sleep Aid Gummies, 1mg, Dietary
27 Supplement,  48 Ct (2024), https://www.walmart.com/ip/Vicks-PURE-Zzzs-
   Melatonin-Sleep-Aid-Gummies-1mg-Dietary-Supplement-48-Ct/963752291.
28 57 Id.
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                          CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.31     Page 31 of
                                       41


 1 remedy at law exists. The statutes of limitations for the causes of action pled herein
 2 vary. Class members who purchased the Products more than three years prior to the
 3 filing of the complaint will be barred from recovery if equitable relief were not
 4 permitted under the UCL.
 5         68. The scope of actionable misconduct under the unfair prong of the UCL
 6 is broader than the other causes of action asserted herein. It includes P&G’s overall
 7 unfair marketing scheme to promote and brand the Products with the “naturally”
 8 representations, across a multitude of media platforms, including the Products’
 9 labels and packaging, over a long period of time, in order to gain an unfair
10 advantage over competitor products. The UCL also creates a cause of action for
11 violations of law, and Perkins brings a claim for violation of the UCL’s “unlawful
12 prong.” No other causes of actions allow this claim to proceed, and thus, there is no
13 adequate remedy at law for this specific violation of the UCL’s unlawful prong.
14 Perkins’ UCL unlawful prong claim does not rest on the same conduct as her other
15 causes of action, and there is no adequate remedy at law for this specific claim.
16 Perkins and the Class members may also be entitled to restitution under the UCL,
17 while not entitled to damages under the CLRA (e.g., the CLRA is limited to certain
18 types of plaintiffs (an individual who seeks or acquires, by purchase or lease, any
19 goods or services for personal, family, or household purposes) and other statutorily
20 enumerated conduct).
21         69. Injunctive relief is appropriate on behalf of Perkins and members of the
22 Class because P&G continues to misrepresent the Products with the “naturally”
23 representations. Injunctive relief is necessary to prevent P&G from continuing to
24 engage in the unfair, fraudulent, and/or unlawful conduct described herein and to
25 prevent future harm—none of which can be achieved through available legal
26 remedies (such as monetary damages to compensate past harm). Injunctive relief,
27 in the form of affirmative disclosures, is necessary to dispel the public
28 misperception about the Products that has resulted from years of P&G’s unfair,
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                            CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET      Document 1 Filed 01/07/25      PageID.32    Page 32 of
                                        41


 1 fraudulent, and unlawful marketing efforts. Such disclosures would include, but are
 2 not limited to, publicly disseminated statements that the Products’ labeling
 3 misrepresentations are not true and providing accurate information about the
 4 Products’ true nature; and/or requiring prominent qualifications and/or disclaimers
 5 on the Products’ front label concerning the Products’ true nature. An injunction
 6 requiring affirmative disclosures to dispel the public’s misperception, and prevent
 7 the ongoing deception and repeat purchases, is also not available through a legal
 8 remedy (such as monetary damages). In addition, Perkins is currently unable to
 9 accurately quantify the damages caused by P&G’s future harm, because discovery
10 and Perkins’ investigation have not yet completed, rendering injunctive relief
11 necessary. Further, a public injunction is available under the UCL, and damages
12 will not adequately benefit the general public in a manner equivalent to an
13 injunction.
14           70. It is premature to determine whether an adequate remedy at law exists.
15 This is an initial pleading and discovery has not yet commenced and/or is at its
16 initial stages. No class has been certified yet. No expert discovery has commenced
17 and/or completed. The completion of fact/non-expert and expert discovery, as well
18 as the certification of this case as a class action, are necessary to finalize and
19 determine the adequacy and availability of all remedies, including legal and
20 equitable, for Perkins’ individual claims and any certified class or subclass. Perkins
21 therefore reserves the right to amend this complaint and/or assert additional facts
22 that demonstrate this Court’s jurisdiction to order equitable remedies where no
23 adequate legal remedies are available for either Plaintiff and/or any certified class
24 or subclass. Such proof, to the extent necessary, will be presented prior to the trial
25 of any equitable claims for relief and/or the entry of an order granting equitable
26 relief.
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                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25         PageID.33     Page 33 of
                                       41


 1                                CLASS ALLEGATIONS
 2         71. Plaintiff brings this action as a class action pursuant to Federal Rule of
 3 Civil Procedure 23(a), (b)(2), and(b)(3) on behalf of the following class:
 4        The Class. All persons who purchased the Products for personal use in
          California within the applicable statute of limitations until the date class
 5        notice is disseminated.
 6         72. Excluded from the Class are: (i) Defendant and its officers, directors,
 7 and employees; (ii) any person who files a valid and timely request for exclusion;
 8 and (iii) judicial officers and their immediate family members and associated court
 9 staff assigned to the case.
10         73. Plaintiff reserves the right to amend or otherwise alter the class
11 definition presented to the Court at the appropriate time, or to propose or eliminate
12 sub-classes, in response to facts learned through discovery, legal arguments
13 advanced by P&G, or otherwise.
14         74. The Class is appropriate for certification because Perkins can prove the
15 elements of the claims on a classwide basis using the same evidence as would be
16 used to prove those elements in individual actions alleging the same claims.
17         75. Numerosity: The Class members are so numerous that joinder of all
18 members is impracticable. Perkins believes there are thousands of consumers who
19 are Class members described above who have been damaged by P&G’s deceptive
20 and misleading practices.
21         76. Commonality and Predominance: Common questions of law and fact
22 affect all Class members, and common questions predominate. The questions of law
23 and fact common to the Class members which predominate over any questions
24 which may affect individual Class members include, but are not limited to:
25              a.     whether P&G is responsible for the conduct alleged herein which
26                     was uniformly directed at all consumers who purchased the
27                     Product;
28              b.     whether P&G’s misconduct set forth in this Complaint
                                        32
                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.34    Page 34 of
                                       41


 1                     demonstrates that P&G engaged in unfair, fraudulent, or
 2                     unlawful business practices with respect to the advertising,
 3                     marketing, and sale of the Product;
 4              c.     whether P&G made false and/or misleading statements
 5                     concerning the Product that were likely to deceive the public;
 6              d.     whether Perkins and the Class are entitled to injunctive relief;
 7                     and
 8              e.     whether Perkins and the Class are entitled to money damages
 9                     and/or equitable monetary relief under the same causes of action
10                     as the other Class members.
11         77. Typicality: Perkins is a member of the Class she seeks to represent. Her
12 claims are typical of the claims of each Class member in that every member of the
13 Class was susceptible to the same deceptive, misleading conduct and purchased the
14 Product. Perkins seeks relief under the same claims as the other Class members.
15         78. Adequacy: Perkins is an adequate Class representative because her
16 interests do not conflict with the interests of the Class members she seeks to
17 represent; the consumer fraud claims are common to all other members of the Class,
18 and Perkins has a strong interest in vindicating her rights; and Perkins has retained
19 counsel competent and experienced in complex class action litigation, and she
20 intends to vigorously prosecute this action. Perkins has no interests which conflict
21 with those of the Class. The Class members’ interests will be fairly and adequately
22 protected by Perkins and proposed Class Counsel.
23         79. Superiority: a class action is superior to other methods for the fair and
24 efficient adjudication of this controversy, since individual joinder of all members
25 of the Class is impracticable and no other group method of adjudication of all claims
26 asserted herein is more efficient and manageable. The prosecution of separate
27 actions by individual Class members would create a risk of inconsistent and varying
28 adjudications. The Class is properly brought and should be maintained as a class
                                          33
                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25         PageID.35     Page 35 of
                                       41


 1 action because a class action is superior to traditional litigation of this controversy.
 2 A class action is superior to the other available methods for the fair and efficient
 3 adjudication of this controversy because:
 4               a.    the joinder of hundreds of individual Class members is
 5                     impracticable, cumbersome, unduly burdensome, and a waste of
 6                     judicial and/or litigation resources;
 7               b.    the individual claims of the Class members may be relatively
 8                     modest compared with the expense of litigating the claim,
 9                     thereby making it impracticable, unduly burdensome, and
10                     expensive to justify individual actions;
11               c.    when P&G’s liability has been adjudicated, all Class members’
12                     claims can be determined by the Court and administered
13                     efficiently in a manner far less burdensome and expensive than
14                     if it were attempted through filing, discovery, and trial of all
15                     individual cases;
16               d.    this class action will promote orderly, efficient, expeditious, and
17                     appropriate adjudication and administration of Class claims;
18               e.    Perkins knows of no difficulty to be encountered in the
19                     management of this action that would preclude its maintenance
20                     as a class action;
21               f.    this class action will assure uniformity of decisions among Class
22                     members;
23               g.    the Class is readily definable and prosecution of this action as a
24                     class action will eliminate the possibility of repetitious litigation;
25                     and
26               h.    Class members’ interests in individually controlling the
27                     prosecution of separate actions is outweighed by their interest in
28                     efficient resolution by single class action.
                                             34
                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.36     Page 36 of
                                       41


 1         80. Rule 23(b)(2): P&G has acted or refused to act on grounds generally
 2 applicable to the Class thereby making final declaratory and/or injunctive relief with
 3 respect to the members of the Class as a whole appropriate.
 4         81. Unless the Class is certified, P&G will retain monies that were taken
 5 from Perkins and the Class members as a result of P&G’s wrongful conduct. Unless
 6 a classwide injunction is issued, P&G will continue to commit the violations alleged
 7 and the members of the Class and the general public will continue to be misled.
 8                            FIRST CLAIM FOR RELIEF
 9              Violation of California’s Consumers Legal Remedies Act
10                            CAL. CIV. CODE § 1750 et seq.
11         82. Plaintiff realleges and incorporates by reference all allegations
12 contained in this complaint, as though fully set forth herein.
13         83. Perkins brings this claim under the CLRA individually and on behalf
14 of the Class against P&G.
15         84. At all times relevant hereto, Perkins and the members of the Class were
16 “consumer[s],” as defined in California Civil Code section 1761(d).
17         85. At all relevant times, P&G constituted a “person,” as defined in
18 California Civil Code section 1761(c).
19         86. At all relevant times, the Products manufactured, marketed, advertised,
20 and sold by P&G constituted “goods,” as defined in California Civil Code section
21 1761(a).
22         87. The purchases of the Products by Perkins and the members of the Class
23 were and are “transactions” within the meaning of California Civil Code section
24 1761(e).
25         88. P&G disseminated, or caused to be disseminated, through its
26 advertising, false and misleading representations, including the Products’ labeling
27 that induce sleep “naturally,” which they do not because the Products contain
28 several artificial and/or synthetic ingredients, including primary ingredient
                                        35
                             CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.37        Page 37 of
                                       41


 1 Melatonin. P&G’s representations violate the CLRA in the following ways:
 2              a.     P&G represented the Products have characteristics, ingredients,
 3                     uses, and benefits which they do not have, CAL. CIV. CODE
 4                     § 1770(a)(5);
 5              b.     P&G represented the Products are of a particular standard,
 6                     quality, or grade, which they are not, § 1770(a)(7);
 7              c.     P&G advertised the Products with an intent not to sell the
 8                     Products as advertised, § 1770(a)(9); and
 9              d.     P&G represented that the subject of a transaction has been
10                     supplied in accordance with a previous representation when it
11                     has not, § 1770(a)(16).
12         89. P&G violated the CLRA because the Products are not “natural” and do
13 not “naturally” help one sleep because they contain artificial and synthetic
14 ingredients as discussed in detail above. P&G knew or should have known the
15 Products were not “natural” and cannot “naturally” help one sleep because P&G
16 created the Products using the artificial and synthetic ingredients described above.
17         90. P&G’s actions as described herein were done with conscious disregard
18 of Perkins’ and the Class members’ rights and were wanton and malicious.
19         91. P&G’s wrongful business practices constituted, and constitute, a
20 continuing course of conduct in violation of the CLRA, since P&G is still
21 representing that the Products have characteristics which they do not have.
22         92. Pursuant to California Civil Code section 1782(d), Perkins and the
23 members of the Class seek an order enjoining P&G from engaging in the methods,
24 acts, and practices alleged herein, and for restitution and disgorgement.
25         93. Pursuant to California Civil Code section 1782, Perkins notified P&G
26 in writing by certified mail of the alleged violations of the CLRA and demanded
27 that P&G rectify the problems associated with the actions detailed above and give
28 notice to all affected consumers of their intent to so act. P&G failed to rectify or
                                          36
                               CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.38    Page 38 of
                                       41


 1 agree to rectify the problems associated with the actions detailed herein and give
 2 notice to all affected consumers within 30 days of the date of written notice pursuant
 3 to section 1782 of the CLRA. Perkins therefore seeks actual, punitive, and statutory
 4 damages.
 5         94.   Pursuant to section 1780(d) of the CLRA, below is an affidavit
 6 showing that this action was commenced in a proper forum.
 7                          SECOND CLAIM FOR RELIEF
 8                 Violation of California’s Unfair Competition Law
 9                       CAL. BUS. & PROF. CODE § 17200 et seq.
10         95. Plaintiff realleges and incorporates by reference all allegations
11 contained in this complaint, as though fully set forth herein.
12         96. Perkins brings this claim under the UCL individually and on behalf of
13 the Class against P&G.
14         97. The UCL prohibits any “unlawful,” “fraudulent,” or “unfair” business
15 act or practice and any false or misleading advertising.
16         98. P&G committed unlawful business acts or practices by making the
17 representations (which also constitutes advertising within the meaning of California
18 Business & Professions Code section 17200), as set forth more fully herein, and
19 violating the CLRA. P&G’s unlawful conduct is ongoing and continues to this date.
20         99. P&G committed “unfair” business acts or practices by: (1) engaging in
21 conduct where the utility of such conduct is outweighed by the harm to Perkins and
22 the members of the Class; (2) engaging in conduct that is immoral, unethical,
23 oppressive, unscrupulous, or substantially injurious to Perkins and the members of
24 the Class; and (3) engaging in conduct that undermines or violates the intent of the
25 consumer protection laws alleged herein. There is no societal benefit from false
26 advertising. Perkins and the other Class members paid for a Product that is not as
27 advertised by P&G. While Perkins and the other Class members were harmed, P&G
28 was unjustly enriched by their false misrepresentations. As a result, P&G’s conduct
                                           37
                              CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25      PageID.39     Page 39 of
                                       41


 1 is “unfair,” as it offended an established public policy. There were reasonably
 2 available alternatives to further P&G’s legitimate business interests, other than the
 3 conduct described herein.
 4         100. P&G committed “fraudulent” business acts or practices by making the
 5 representations of material fact regarding the Products set forth herein. P&G’s
 6 business practices as alleged are “fraudulent” under the UCL because they are likely
 7 to deceive customers into believing the Products “naturally” help with sleep when
 8 the Products are not natural and do not work naturally because they contain artificial
 9 and synthetic ingredients.
10         101. Perkins and the other members of the Class have in fact been deceived
11 as a result of their reliance on P&G’s material representations. This reliance has
12 caused harm to Perkins and the other members of the Class, each of whom
13 purchased P&G’s Products. Perkins and the other Class members have suffered
14 injury in fact and lost money as a result of purchasing the Products and P&G’s
15 unlawful, unfair, and fraudulent practices.
16         102. P&G’s wrongful business practices and violations of the UCL are
17 ongoing.
18         103. Perkins and the Class seek pre-judgment interest as a direct and
19 proximate result of P&G’s unfair and fraudulent business conduct. The amount on
20 which interest is to be calculated is a sum certain and capable of calculation, and
21 Perkins and the Class seek interest in an amount according to proof.
22         104. Unless restrained and enjoined, P&G will continue to engage in the
23 above-described conduct. Accordingly, injunctive relief is appropriate. Pursuant to
24 California Business & Professions Code section 17203, Perkins, on behalf of herself
25 and the Class, seeks (1) restitution from P&G of all money obtained from Perkins
26 and the other Class members as a result of unfair competition; (2) an injunction
27 prohibiting P&G from continuing such practices in the State of California that do
28 not comply with California law; and (3) all other relief this Court deems
                                     38
                          CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25        PageID.40     Page 40 of
                                       41


 1 appropriate, consistent with California Business & Professions Code section 17203.
 2                               REQUEST FOR RELIEF
 3         Plaintiff, individually, and on behalf of all others similarly situated, requests
 4 for relief pursuant to each claim set forth in this Complaint, as follows:
 5         a.   declaring that this action is a proper class action, certifying the Class as
 6 requested herein, designating Plaintiff as Class Representative and appointing the
 7 undersigned counsel as Class Counsel;
 8         b.   ordering restitution and disgorgement of all profits and unjust
 9 enrichment that Defendant obtained from Plaintiff and the Class members as a result
10 of Defendant’s unlawful, unfair, and fraudulent business practices;
11         c.   ordering injunctive relief as permitted by law or equity, including
12 enjoining Defendant from continuing the unlawful practices as set forth herein, and
13 ordering Defendant to engage in a corrective advertising campaign;
14         d.   ordering damages for Plaintiff and the Class;
15         e.   ordering Defendant to pay attorneys’ fees and litigation costs to
16 Plaintiff and the other members of the Class;
17         f.   ordering Defendant to pay both pre- and post-judgment interest on any
18 amounts awarded; and
19         g.   ordering such other and further relief as may be just and proper.
20                                    JURY DEMAND
21         Plaintiff demands a trial by jury of all claims in this Complaint so triable.
22
23 Date: December 27, 2024                  CROSNER LEGAL, P.C.
24                                     By: /s/ Craig W. Straub
                                          CRAIG W. STRAUB
25
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                                 CLASS ACTION COMPLAINT
Case 3:25-cv-00035-JO-VET     Document 1 Filed 01/07/25       PageID.41     Page 41 of
                                       41


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10                                         Counsel for Plaintiff Valerie Perkins and the
                                           Proposed Class
11
12                          Civil Code Section 1780(d) Affidavit
13        I am an attorney duly licensed to practice before all of the courts of the State
14 of California. I am one of the counsel of record for Plaintiff. This declaration is
15 made pursuant to § 1780(d) of the California Consumers Legal Remedies Act.
16 Defendant has done, and are doing, business in California, including in this district.
17 I declare under penalty of perjury under the laws of the State of California that the
18 foregoing is true and correct. Executed January 7, 2025 at San Diego, California.
19                                          By:       /s/ Craig W. Straub
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                                CLASS ACTION COMPLAINT
